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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




 JOHNSON & JOHNSON HEALTH CARE
 SYSTEMS, INC.,

                Plaintiff,
         v.
                                                     Case No. 1:24-cv-03188-RC
 ROBERT F. KENNEDY, in his official
 capacity, and U.S. DEPARTMENT OF
 HEALTH AND HUMAN SERVICES,

 and

 THOMAS J. ENGELS, in his official
 capacity, and HEALTH RESOURCES AND
 SERVICES ADMINISTRATION,

                Defendants.


                                    [PROPOSED] ORDER

       Upon consideration of the unopposed Motion for Leave to File Amici Curiae Brief of State

and Regional Hospital Associations, it is hereby ORDERED that the Motion is GRANTED. The

Clerk shall cause the Brief of State and Regional Hospital Associations as Amici Curiae in Support

of Defendants, attached as Exhibit A to their Motion, to be filed and entered on the docket in the

above-captioned proceeding.

       IT IS SO ORDERED.


       This ______ day of _____________, 2025.

                                                    ______________________________

                                                    Hon. Rudolph Contreras
                                                    United States District Judge
